                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE



                                                   )
CURTIS A. GIBBS, et al.                            )
                                                   )    Case No. 3:11-cv-0777
v.                                                 )     JUDGE HAYNES
                                                   )
NATIONAL MUTUAL FIRE                               )
INSURANCE COMPANY                                  )



                                   ENTRY OF JUDGMENT



       Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the Federal
Rules of Civil Procedure on June 4, 2012.




                                                   KEITH THROCKMORTON, CLERK
                                                   s/Dalaina Thompson, Deputy Clerk




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